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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



UNITED STATES CONFERENCE OF
CATHOLIC BISHOPS,

                          Plaintiff,

v.

UNITED STATES DEPARTMENT OF
STATE;
                                                       Case No. l:25-cv-465
                                                       DECLARATION OF LITZ MAIN IN
MARCO RUBIO, in his official capacity as
                                                       SUPPORT OF PLAINTIFF’S MOTION
Secretary of State, Department of State;               FOR PRELIMINARY INJUNCTION

BUREAU OF POPULATION, REFUGEES,
AND MIGRATION, Department of State;

JENNIFER DAVIS, in her official capacity as
Principal Deputy Assistant Secretary, Bureau
of Population, Refugees, and Migration,
Department of State;


UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;

ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of Health and Human
Services, Department of Health and Human
Services;

                          Defendants.
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                             DECLARATION OF LUZ MAIN
       1.      I, Litz Main, am the Executive Director at Catholic Charities of Central and

Northern Missouri (“CCCNMO”). As Executive Director, I liaise with the United States

Conference of Catholic Bishops (،،USCCB”) to obtain reimbursements from the government for

the services we provide to resettle refugees in our community.
       2.      I make this declaration based on personal knowledge and am competent to do so.

       3.      I am submitting this declaration in support ofUSCCB’s Motion for a Preliminary

Injunction.
       4.      CCCNMO’s mission is to provide compassionate care and create hope for the
lives ofvulnerable individuals, particularly those experiencing poverty, through social services

that respect the dignity of each person and engage the local community. Refugee resettlement
has been a core component of our mission since CCCNMO’s founding fourteen years ago. In

all that time, we have been partners with USCCB in identifying refugees in need of assistance

and in obtaining the necessary funds to serve them. Prior to CCCNMO’s founding, the local

diocese worked with USCCB to perform this important work in the area.
       5.      The suspension of government funding has entirely disrupted our ability to
support the refugees we committed to resettle. As of last week, CCCNMO had approximately

500 refugees on the rolls of our resettlement program. But because we have not been reimbursed
for our past services and have only limited cash flow from sources other than the government
funding received through USCCB, we were forced to tell about 250 of these friends that we

could no longer assist them at all. For the rest, we have tried to collect funds by taking resources
from our other programs and imploring community members for donations. Neither of these
sources provide stable sources of support, however.


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          6.   The first sacrifice made to conserve resources for our refugees was our staff.

Beginning on February 1,2025, we have let go of half of our refugee staff. While that decision

freed up funds previously going to payroll, it also diminished our capacity to serve, putting

immense strain on the time and emotions ofour remaining staff. Spread thin, our staffare unable
to provide the same level of attention and care for our refugees in obtaining the benefits and

opportunities that they need to become established here.

          7.   We anticipated that with the change of government administration, there might

be a reduction in the number of refugees placed in our resettlement program. As early as last

June, CCCNMO prepared to refocus some of its attention on other charitable projects. But we

in no way anticipated a total stop to funding for refugees already placed in our care. None of

our usual sources of supplemental aid could account for this drastic change, especiaUy without

notice.

          8.   With heavy hearts, and despite CCCNMO’s passion for serving our refugee

brothers and sisters, we have begun the process ofpermanently closing our refugee resettlement

program. This episode has proven how immensely vulnerable our entire program is to shocks

of this magnitude. We cannot risk the more stable programs that we can continue to administer

independent of government assistance to keep the refugee resettlement program running during

periods of government recalcitrance. We have already communicated our decision to USCCB.

We plan to wind down our refugee services by the end of February.

          9.   The refugee resettlement program has been our only partnership with USCCB,

and this unfortunate experience will make us incredibly reluctant to engage with them in

government-sponsored programs again. Instead. CCCNMO has pivoted its strategy to focus on

charitable causes that can gamer support from local donors. Unfortunately, widespread distrust



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of refugees will most likely preclude us from offering resettlement-associated services to that
particular vulnerable population even on a scale we can independently manage.

         10.   I declare under penalty ofperjury that the foregoing is true and correct to the best

 of my understanding.


Signed this 22nd of February 2025,


                                                     /8/
                                                     LitzMain




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